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                                                                     FILED
                                                                 U.S. DISTRICT COURT
                                                              EASTERN DISTRICT OF TEXAS

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS FEB 2 7 2013
                                   LUFKIN DIVISION
                                                             BY
UNITED STATES OF AMERICA §                                   DEPUTY ____
                                          §
v.                            §                         CAUSE NO. 917CR27
                                          §             CHIEF JUDGE CLARK
TYNO KEO §
                                    FACTUAL BASIS

        The government presents to the Court, by and through the undersigned Assistant

United States Attorney in and for the Eastern District of Texas, joined by the defendant

Tyno Keo, and the defendant s attorney James Alston, and presents this factual basis in

support of the defendant’s plea of guilty to Count Two of the Superseding Indictment and

in support thereof, would show the following:

 1. That the defendant, Tyno Keo, hereby stipulates and agrees to the truth of all matters

        set forth in this factual basis, and agrees that such admission may be used by the

        Court in support of his plea of guilty to County Two of the Superseding Indictment,

        which charges a violation of 8 U.S.C. §§1324(a)(l)(A)(iii) and (a)(l)(B)(i).

2. That the defendant, Tyno Keo, who is pleading guilty to such charge, is one and the

        same person charged in the Superseding Indictment.

3. Th t the events described in Count Two of the Superseding Indictment occurred in

        the Eastern District of Texas and elsewhere.

4. That had this matter proceeded to trial, the government, through the testimony of

        witnesses, including expert witnesses, and through admissible exhibits, would have

        proven, beyond a reasonable doubt, each and every essential element of the offense


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         alleged in Count Two of the Superseding Indictment; specifically, the government

         would have proven the following stipulated facts:

         a. In 2012, arrangements were made so that S.L. could travel from Cambodia

                 to the United States to work as a maid and caretaker in the home of Tyno

                 Keo and Phearom Lay and in the Donut Shop owned by Tyno Keo and

                 Phearom Lay.

         b. On or about September 21, 2012, S.L. received a Visa to travel to the United

                 States as a tourist for a period of three months.

         c. S.L. arrived in the United States on September 26, 2012, and went to Tyno

                 Keo and Phearom Lay s home in Nacogdoches, Texas.

        d. From on or about September 26, 2012, to on or about May 4, 2013, S.L.

                 helped with household chores and taking care of Tyno Keo and Phearom

                 Lay s children. Some of this time, she would also work at the Donut Shop

                 owned by Tyno Keo and Phearom Lay.

        e. The residence of Tyno Keo and Phearom Lay and the Donut Palace are both

                 located in Nacogdoches, Texas, which is located within the Eastern District

                 of Texas.


        f. Originally, it was agreed that S.L. would be paid a salary of $1,000 per

                 month. A portion of which was withheld to repay the $50,000 debt advanced

                 towards the obtaining of the Visa and travel.

        g. Tyno Keo continued to employ and harbor S.L. in his home after S.L.’s

                 Tourist Visa expired on December 19, 2012.


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         h. On January 14,2014, Tyno Keo was interviewed by law enforcement. Tyno

                  Keo stated that his sister-in-law paid $50,000 to unknown people in

                  Cambodia who arranged for S.L. to travel to the United States and told her

                  what to say during her interview at the embassy in Cambodia so that she

                  could obtain the travel visa. Tyno Keo explained that his sister-in-law agreed

                  to pay the $50,000 as her share of debt incurred from medical expenses for

                  Tyno Keo s father-in-law.

         i. Tyno Keo stated that S.L. agreed to incur the debt and work for him and

                  Phearom Lay. He admitted that S.L. eventually worked in the home and at

                  the Donut Palace. He stated that a record of the $50,000 debt was kept as his

                  home and that Phearom Lay kept track of the debt. On January 14, 2014,

                  Phearom Lay provided law enforcement with a copy of the ledger she used

                 to record the debt.

        j. Tyno Keo agrees that he knew or recklessly disregarded the fact that S.L., an

                 alien, was not lawfully in the United States and that he concealed, shielded

                 or harbored S.L. Tyno Keo agrees that he intended to conceal, shield, or

                 harbor S.L. to facilitate S.L. s continued illegal presence and that he acted

                 for commercial advantage or private financial gain by paying S.L. less than

                 the federally mandated minimum wage.




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                 DEFENDANT S SIGNATURE AND ACKNOWLEDGMENT

5. I have read this factual basis and the indictment or have had them read to me and

         have discussed them with my attorney. I fully understand the contents of this factual

         basis and agree ithout reservation that it accurately describes the events and my

         acts.


Dated: w                   \     H          ty/tAr
                                            TYN KEO
                                            Defendant

           DEFENSE COUNSEL’S SIGNATURE AND ACKNOWLEDGMENT

6. I have read this factual basis and the indictment and have reviewed them with my

         client, Tyno Keo. Based upon my discussions with the defendant, I am satisfied

         that the defendant understands the factual basis as well as the indictment, and is

         knowingly and voluntarily agreeing to these stipulated facts.



Dated: 1                                    f T?t i
              ' JAMES ALSTON
                                            Attorney for the Defendant



                                            Respectfully submitted,
                                                                            C
                                            BRHN BATHRESTON
                                            ACTING-UNITED STATES ATTORNEY



                                            L U EN GASTON
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